

Montgomery v 215 Chrystie LLC (2022 NY Slip Op 00253)





Montgomery v 215 Chrystie LLC


2022 NY Slip Op 00253


Decided on January 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 13, 2022

Before: Acosta, P.J., Manzanet-Daniels, González, Mendez, Rodriguez, JJ. 


Index No. 158146/20 Appeal No. 15067 Case No. 2020-04623 

[*1]Catherine Montgomery, Plaintiff-Appellant,
v215 Chrystie LLC, et al., Defendants-Respondents.


Lambert &amp; Shackman, PLLC, New York (Thomas Charles Lambert of counsel), for appellant.
Meister Seelig &amp; Fein LLP, New York (Remy J. Stocks of counsel), for respondents.



Order, Supreme Court, New York County (David B. Cohen, J.) entered on or about October 23, 2020, which denied plaintiff's motion for a preliminary injunction, unanimously affirmed, without costs.
Plaintiff's motion was properly denied because the preliminary injunction she seeks is tantamount to the ultimate relief sought on the first cause of action (see Jones v Park Front Apts., LLC, 73 AD3d 612 [1st Dept 2010]). In addition, the evidence supports defendants' contention that the harm to plaintiff in maintaining the status quo while awaiting trial on her claims is compensable by measurable money damages and therefore not irreparable (see Louis Lasky Mem. Med. &amp; Dental Ctr. LLC v 63 W. 38th LLC, 84 AD3d 528 [1st Dept 2011]). Defendants provided plaintiff with a hotel room
while they sought to remediate the noise, and plaintiff has not complained of unreasonable noise in her second bedroom.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 13, 2022








